            Case 21-33581 Document 56 Filed in TXSB on 12/20/21 Page 1 of 2
                                                                                     United States Bankruptcy Court
                                                                                         Southern District of Texas

                              IN THE UNITED STATES BANKRUPTCY COURT                         ENTERED
                                FOR THE SOUTHERN DISTRICT OF TEXAS                      December 20, 2021
                                         HOUSTON DIVISION                                Nathan Ochsner, Clerk


IN RE:                                 §
                                       §
DIOGU KALU DIOGU, II                   §                              CASE NO. 21-33581
                                       §                                     Chapter 13
       Debtor.                         §
***************************************§
LAKELAND WEST CAPITAL 41, LLC          §
       Movant,                         §
v.                                     §
                                       §
DIOGU KALU DIOGU, II,                  §
Debtor,                                §
       Respondent.                     §

            INTERIM ORDER REGARDING LAKELAND WEST CAPITAL 41,
                                    L.L.C.’S
           MOTION FOR RELIEF FROM THE AUTOMATIC STAY REGARDING
                 4726 GAINSBOROUGH DR, BROOKSHIRE, TX 77423
                              (Relates to Docket No. 28)

          ON THIS DAY came for hearing Lakeland West Capital 41, L.L.C.’s Motion for Relief

Under 11 U.S.C. § 362(d)(1) from the Automatic Stay Regarding 4726 Gainsborough Drive,

Brookshire, TX 77423, the responses filed, evidence presented, and arguments of counsel. It is,

therefore,

          ORDERED that Lakeland West Capital 41, L.L.C., its successors and assigns

(“Lakeland”), is permitted to post that certain real property known as 4726 GAINSBOROUGH

DRIVE, BROOKSHIRE, TX 77423 being further described on Exhibit “A” attached hereto (the

“Property”), for a February 1, 2022 foreclosure sale; provided, however, that Lakeland shall

not proceed with a non-judicial foreclosure sale without further order of the Court. It is further

          ORDERED that the hearing on Lakeland West Capital 41, L.L.C.’s Motion for Relief filed

at Docket No. 28, on December 17, 2021, at 9:00 a.m. (C.S.T.), continued to January 19, 2022 at

3:30 p.m.



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            Case 21-33581 Document 56 Filed in TXSB on 12/20/21 Page 2 of 2


          SIGNED this ____ day of ___________________, 2021.
        Signed: December 20, 2021.

                                              ____________________________________
                                          ______________________________________
                                              DAVID R. JONES
                                              UNITED
                                          DAVID       STATES BANKRUPTCY JUDGE
                                                 R. JONES
                                          UNITED STATES BANKRUPTCY JUDGE




APPROVED AND ENTRY REQUESTED:

HIRSCH & WESTHEIMER, P.C.

By: /s/ Michael J. Durrschmidt
    Michael J. Durrschmidt
    Texas Bar No. 06287650
    Kim Lewinski
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 ATTORNEYS FOR LAKELAND WEST
 CAPITAL 41, LLC

APPROVED AS TO FORM:

DIOGU KALU DIOGU, II

By: /s/ Diogu Kalu Diogu, II (with permission)______
    Diogu Law Firm PLLC
    Texas Bar No. 24000340
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 DEBTOR




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